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 6
 7
      IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
 8
                        DISTRICT OF INDIANA
 9
10
     Joseph Maldonado,                    )
11
          Petitioner and Plaintiff,       )
12
13             versus                     )

14   Professional Animal Retirement       ) Case 1:25-cv-00239-HAB-SLC
15   Center (PARC), a.k.a.                )
16   Black Pine Animal Sanctuary          )
17
          Respondent and Defendant.       )
18
19
             In re the tigers at Black Pine Animal Sanctuary.
20
        FIRST AMENDED COMPLAINT UNDER THE ENDANGERED
21
       SPECIES ACT AND EMERGENCY PETITION FOR INJUNCTIVE
22                          RELIEF
23
          This is a complaint demanding a trial, declaratory relief and
24
25
     injunctive relief under the Endangered Species Act, combined with

26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 1
 1   an emergency petition for preliminary injunction1 under the
 2
     Endangered Species Act (ESA).
 3
 4        Petitioner-Plaintiff Joseph Maldonado (a.k.a. “Joe Exotic”) has
 5
     recently learned that PARC, a.k.a. Black Pine Animal Sanctuary
 6
 7   intended to “neuter” (castrate) one of Maldonado’s former tigers, an
 8
     extremely rare and endangered white tiger known as Elvis, during
 9
     the weekend of May 16-18, 2025. More recently, Maldonado has
10
11   learned that PARC also possesses at least four other tigers
12
     (including three has engaged in a pattern of other ESA violations,
13
14   including a practice of spaying and neutering other endangered

15   species.
16
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22
23   1 This case arises due to an announcement that the defendant will

24   commit irreparable harm within four days. The Plaintiff has sent
     notice via certified mail (but not process service) on the afternoon of
25   May 13, 2025. In the event the defendant fails to acknowledge
26   receipt, the injunction sought can be described as a restraining
     order under Rule 65.
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 2
 1
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14
15        The Black Pine Animal Sanctuary is performing the neutering
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     in conjunction with a mass fundraising campaign to raise money.
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27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 3
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12
                          MALDONADO’S STANDING
13
          Maldonado has standing under the ESA’s citizen suit provision
14
15   because Maldonado has a special relationship with Elvis. Elvis was
16
     nurtured, loved, raised and cared for by Maldonado from around
17
18   2016 until the time of Maldonado’s separation from Elvis in 2019.

19   Maldonado plans to revisit Elvis again as soon as Maldonado is free
20
     to travel. Maldonado also intends to monitor Elvis’ health and
21
22   status, via representatives, proxies, or agents, by inspecting Elvis’
23
     living conditions.
24
25        Not only is Elvis an endangered species on account of being a
26
     tiger; but Elvis is an extremely rare type of Tiger. Neutering Elvis
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 4
 1   will kill some of the rarest genes in the tiger universe. Elvis’ parents
 2
     were two extremely rare, orange, heterozygous tigers. Neither
 3
 4   parent was white in color; which makes Elvis’ genetics profoundly
 5   rare. The paring of Elvis’ parents rescued a diverse set of recessive
 6
     genes from being lost to nature.
 7
 8
          Maldonado has learned that Black Pines Animal Sanctuary
 9
     owns a second, third, and fourth of his former tigers (Ima, Petronus,
10
11   and Prince). Maldonado has a similar history with these big cats,
12
     having raised them, nurtured them, and cared for them for years.
13
14   Just as with Elvis, the Black Pine facility advertises and fundraises

15   off of the notoriety of these cats having formerly belonged to
16
     Maldonado’s former zoo.
17
18
          There is also a fifth tiger at Black Pine, “Top Cat.” Just as
19
     with the other four tigers, Top Cat is in grave danger of being
20
21   neutered or harmed by Black Pine. Maldonado is monitoring the
22
     conditions of these five big cats and expects to visit them as soon as
23
24   he is able.

25
          Emergency Notice and Request for Expedited Rulings.
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 5
 1        Notice of this claim and petition has been provided to every
 2
     listed member of the PARC Board of Directors, via overnight
 3
 4   certified priority mail with return receipts, mailed at 3:00 p.m. on
 5   May 13, 2025. These members of the Board were also notified via
 6
     email on May 13.
 7
 8
          Maldonado is simultaneously filing a motion for preliminary
 9
     injunction, seeking a court order that Black Pine Wildlife Sanctuary
10
11   be enjoined from spaying or neutering these big cats before
12
     completion of this litigation.
13
14   Grounds for Restraining Order/Preliminary Injunction.
15
16        Upon information and belief (and published social media)
17   PARC intended to neuter Elvis on weekend of May 16th. Maldonado
18
     understands that PARC/Black Pine opted not to neuter Elvis on the
19
20   weekend of May 16th. However, the respondents have announced
21
     publicly that they do not regard these precious tigers as being
22
23
     protected under the ESA.

24
                   Black Pine’s Concealment of Evidence.
25
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 6
 1        In fact, Black Pine has altered its website to hide evidence
 2
     regarding the neuter status of Maldonado’s former tiger Petronus.
 3
 4   Last week, when the original complaint was filed, Black Pine’s
 5   website prominently featured an image of Petronus which showed
 6
     Petronus’ male genitalia intact.
 7
 8
 9
10
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15
          However, by the week of May 18—after Black Pine became
16
17   knowledgeable that Maldonado was threatening an ESA suit against
18
     Black Pine, the Sanctuary’s website had been changed to conceal
19
     evidence regarding the neuter status of Petronus.
20
21
22
23
24
25
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 7
 1
 2
 3
 4
 5
 6
 7
 8        Thus it is evident that Black Pine is hiding evidence on its
 9
     website in response to Maldonado’s petition.
10
11         Accordingly, Maldonado requests emergency expedited
12
     preliminary injunction as soon as possible.
13
14
                                THE PARTIES
15
          Petitioner-plaintiff Joseph Maldonado (“Joe Exotic”) is the
16
17   former owner and operator of the largest tiger zoo in North America,
18   the Greater Wynnewood Exotic Animal Park in Oklahoma.
19
     Maldonado is presently incarcerated at the U.S. federal prison at
20
21
22
23
24
25
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 8
 1   Fort Worth, Texas, serving a 21-year prison sentence for crimes he
 2
     did not commit. 2
 3
 4        Respondent-Defendant Professional Animal Retirement
 5
     Center, Inc, known as “PARC”, is an organization doing business in
 6
 7   the State of Indiana as Black Pine Animal Sanctuary, known as
 8
     “BPAS,” located at 1426 W 300 N Albion, IN 46701. Amanda Plank
 9
     is PARC’s executive director and/or CEO.
10
11
                          JURISDICTION & VENUE
12
          This Court has subject matter jurisdiction under 28 USC §
13
14   1331, on the basis of there being a federal question relating to the
15   Endangered Species Act, 16 U.S.C. § 1540(g), 16 U.S.C. § 1538, 50
16
     C.F.R. § 17.21 and 50 C.F.R. § 17.61.
17
18
          Venue is appropriate because PARC operates the Black Pine
19
     Animal Sanctuary in the Northern District of Indiana.
20
21
                               Legal Standards.
22
23
24
25
     2 Maldonado’s appeal of the denial of his motion for new trial is
26
     currently pending before the U.S. 10th Circuit Court of Appeals.
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 9
 1        Under Federal Rule of Civil Procedure 65, a preliminary
 2
     injunction should be granted where (1) there is likelihood of success
 3
 4   on the merits, (2) likelihood of irreparable harm, (3 &4) a balance of
 5   equities and hardships as well as public interest favors inunction.
 6
     All four factors are easily met here.
 7
 8
     1. Likelihood of Success on the Merits
 9
10   Maldonado will likely succeed on the merits of this underlying
11
     cause of action. This is because the design and purpose of the
12
13   Endangered Species Act is to preserve, grow, repopulate, and

14   propagate endangered species until such species have recovered
15
     enough in their numbers to be delisted. Castration, spaying and
16
17   neutering such endangered species violates the plain language,
18
     purpose and design of the Act.
19
20   2. Likelihood of Irreparable Harm
21
          Irreparable harm is certain in this case because a tiger cannot
22
23   be un-neutered after a neutering procedure. Additionally, neutering
24
     of cats brings long-term health harms and health risks as described
25
26   below.
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 10
 1   3. Balance of Equities and Hardships
 2
 3        The balancing of equities and hardships in this case also

 4   favors a preliminary injunction. Temporary injunctive relief will not
 5
     effect the long-term rights of Black Pine Animal Sanctuary to
 6
 7   conduct its procedure in the future, in the (unlikely) event that
 8
     Maldonado loses on the merits of this suit.
 9
10   4. Public Interest
11
12
          The public has an interest in the survival, recovery, health,

13   and propagation of endangered species and rare tigers.
14
15     DEMAND FOR TRIAL ON THE MERITS, AND DECLARATORY
                    AND INJUNCTIVE RELIEF.
16
17
          Beyond a preliminary injunction, Maldonado requests

18   permanent injunctive and declaratory relief in the form of an order:
19
20     1. Declaring that the rendering of an endangered species
21        impotent or infertile by spaying or neutering violates the ESA;
22
       2. Declaring that defendants’ castrating, spaying or neutering of
23
24        Elvis the tiger violates the ESA;
25
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 11
 1     3. Enjoining the defendant/respondent from neutering Elvis
 2
          violates the ESA;
 3
 4     4. Enjoining the defendant/respondent from spaying or
 5        neutering any other endangered species;
 6
       5. Permitting an on-site inspection of the property, ·within thirty
 7
 8        days, to confirm that all of the Big Cats at PARC are being
 9
          preserved and not altered in any manner;
10
11
       6. Ordering Elvis and the other tigers released to the wild or

12        moved to a suitable secure sanctuary, with defendant paying
13
          for placement, transport, and veterinary care necessary for the
14
15        animal’s relocation to its native habitat in the wild where the
16        animal may express species-typical behaviors in safe, sanitary,
17
          and enriching environments and receive proper, natural,
18
19        species specific nutrition and live a natural life away from
20
          human interference.
21
22
23
     FURTHER STANDARDS FOR RESOLUTION ON THE MERITS.
24
          The Endangered Species Act authorizes citizens to enforce
25
26   compliance with any provision of the Act. 16 U.S.C. § 1540(g). This
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 12
 1   includes the prohibitions in 16 U.S.C. § 1538. See 50 C.F.R. § 17.21
 2
     and 50 C.F.R. § 17.61. However, citizens adversely affected by an
 3
 4   ESA violation normally must give 60-days notice of the alleged
 5   violation to the alleged violator and Secretary of the Interior. This
 6
     notice and delay period are intended to allow the violator an
 7
 8   opportunity to correct his violation and to give the Secretary an
 9
     opportunity to enforce compliance, thus making citizen enforcement
10
11
     unnecessary.

12
     Issuance of declaratory order.
13
14          Rule 57 of the Federal Rules of Civil Procedure (“Declaratory
15
     Judgment”) provides for the procedure for obtaining a declaratory
16
17   judgment under 28 U.S.C. §2201. The existence of another
18
     adequate remedy does not preclude a declaratory judgment that is
19
     otherwise appropriate. The court may order a speedy hearing of a
20
21   declaratory-judgment action.
22
23
       I.     The Endangered Species Act

24
       The Endangered Species Act (“ESA”) prohibits the “take” of
25
26   endangered and most threatened species within the United States.
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 13
 1   Tigers are a listed “endangered species under the
 2
     ESA. To which the "take" prohibition applies. Congress defined
 3
 4   "take" "in the "broadest possible" manner to include every
 5   conceivable way in which a person can take or attempt to
 6
     take any fish or wildlife." ''Take" is defined by statute to mean "to
 7
 8   harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or
 9
     collect, or to attempt to engage in any such conduct." 16
10
11
     U.S. Code § 1532(19).

12
       "Harm" and "harass" are defined by regulation. "Harm" is "an act
13
14   which actually kills or injures wildlife" including "by significantly

15   impairing essential behavioral patterns, including breeding,
16
     feeding or sheltering."6 "Harass" is "an intentional or negligent act
17
18   or omission which creates the likelihood of injury to wildlife by
19
     annoying it to such an extent as to significantly disrupt normal
20
     behavioral patterns which include, but are not limited to, breeding,
21
22   feeding, or sheltering."
23
24     ''Wound" is not defined by statute or regulation. Its dictionary

25   definition, as a verb, is "to cause a wound to or in," or "to inflict a
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 14
 1   wound"; as a noun, wound is defined as "an injury to the body
 2
     (as from violence, accident, or surgery) that typically involves
 3
 4   laceration or breaking of a membrane (such as the skin) and
 5   usually damage to underlying tissues."
 6
 7     On information and belief, PARC does not allow the Big Cats in
 8
     its care to reside in communal groups, therefore on information and
 9
     belief the only purpose of this unnecessary procedure to neuter
10
11   Elvis is to prevent the non-aggressive nuisance of marking, which is
12
     a genetically hardwired instinct. To deprive a big cat of its right to
13
14   exhibit this natural tendency is a “harm” as defined under

15   the ESA.
16
17   On Information and belief, PARC, do not possess a captive-bred
18
     wildlife permit and would need to possess any such permit to "take"
19
     Big Cats. Yet, PARC, as described below, confines and maintains
20
21   Big Cats in conditions that "harm," "harass," and "wound" them in
22
     violation of Section 9 of the ESA9 and its implementing regulations,
23
24   10 and thereby also unlawfully possesses them11 in further

25   violation of the Act.
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 15
 1     II. Professional Animal Retirement Center Takes Big Cats in
 2
     Violation of the ESA.
 3
 4     PARC takes protected Big Cats by spaying and or neutering
 5
     them, actions which harass and result in or creates a likelihood of
 6
 7   injury to the animals. Specifically, PARC has posted publicly, on
 8
     social media platforms, their intent to neuter “Elvis”, a white Bengal
 9
     tiger born in 2016, and a protected Big Cat under the provisions of
10
11   the ESA, sometime between May 16, 2025, May 17, 2025, or May
12
     18, 2025. Neutering Big Cats is illegal under the ESA. As defined
13
14   by the ESA, neutering is an “act which actually kills or injures

15   wildlife" including "by significantly impairing essential behavioral
16
     patterns, including breeding, feeding or sheltering" and is therefore
17
18   a “harm”.
19
       Neutering Elvis certainly impacts his ability to breed, as well as
20
21   puts him at greater risk for hormonal changes and certain cancers,
22
     as well as metabolic changes and weight gain, and an increased
23
24   risk of urinary tract issues. There is also significant risk of surgical

25   complications and death associated with this procedure. Sedation of
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 16
 1   big cats often causes distress and poses health risks to the animal
 2
     such as seizures, convulsions, and risk of aspiration. Sedation of a
 3
 4   tiger Elvis’s age carries significant higher risks due to age-related
 5   decline in organ function, particularly to the heart and lungs. Older
 6
     animals may have less efficient hearts and blood vessels, making
 7
 8   them more susceptible to complications during anesthesia.
 9
     Anesthesia can further depress heart function, potentially leading
10
11
     to arrhythmias or heart failure. Senior Tigers may have decreased

12   lung capacity and elasticity, making them more vulnerable to
13
     respiratory depression, reduced oxygen levels (hypoxia), and
14
15   difficulties breathing.
16
          The conditions set forth herein, violate ESA’s prohibition on
17
18   the "take" of the Big Cats. Unless the violations described herein
19
     cease immediately, Joseph Maldonado intends to file suit against
20
     PARC under the ESA after the expiration of sixty days. Pursuant to
21
22   the ESA, Joseph Maldonado will seek declaratory relief and an
23
     injunction against continued violations, including, but not
24
25   limited to; requesting that the court order the transfer of the Big
26   Cats to reputable accredited American Zoological Association
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 17
 1   (“AZA”) facilities that participates in the Tiger Species Survival Plan
 2
     (“SSP”), as well as attorney's fees and litigation costs.
 3
 4                          PRAYER FOR RELIEF:
 5
 6   ACCORDINGLY, petitioner requests a trial on the merits, a
 7
     restraining order or preliminary injunction as described above, and
 8
     an order by this Honorable Court:
 9
10
     1.   Declaring that the rendering of an endangered species
11
12
     impotent or infertile by spaying or neutering violates the ESA;

13
     2.   Declaring that defendants’ castrating, spaying or neutering of
14
15   Elvis the tiger or the other four tigers at Black Pine Animal

16   Sanctuary violates the ESA;
17
18   3.   Enjoining the defendant/respondent from neutering Elvis or
19
     other cats pursuant to the ESA;
20
21   4.   Enjoining the defendant/respondent from spaying or
22
     neutering any other endangered species;
23
24
25
26
27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 18
 1   5.   Permitting an on-site inspection of the property, ·within thirty
 2
     days, to confirm that all of the Big Cats at PARC are being
 3
 4   preserved and not altered in any manner;
 5
     6.   Ordering Elvis and the other big cats released to the wild or
 6
 7   moved to a suitable secure sanctuary, with defendant paying for
 8
     placement, transport, and veterinary care necessary for the
 9
     animal’s relocation to its native habitat in the wild where the animal
10
11   may express species-typical behaviors in safe, sanitary, and
12
     enriching environments and receive proper, natural, species specific
13
14   nutrition and live a natural life away from human interference.

15
     DATE: May 20, 2025              RESPECTFULLY SUBMITTED,
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27   IN RE THE TIGERS AT BLACK PINE ANIMAL SANCTUARY - 19
